                            UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                    WESTERN DIVISION



UNITED STATES OF AMERICA,                                  CR. 20-50122-02-JLV

                       Plaintiff,
                                                     ORDER SETTING TRIAL DATE AND
     vs.                                                  RELATED MATTERS

KIMBERLEE PITAWANAKWAT, a/k/a
“Stormy,”

                       Defendant.

READ THIS ORDER – EXPERT DISCLOSURE DEADLINES HAVE CHANGED
      The deadlines and trial date were canceled pending resolution of an ex parte
motion. (Docket 217). That motion has been resolved and new dates need to be
established. Therefore, it is
      ORDERED that the following deadlines shall apply:

           Applications for Writ of Habeas     June 16, 2023
           Corpus Ad Testificandum
           Other motions/continuance           June 16, 2023
           motions
           Responses to motions due            Within seven days after motion is
                                               filed

           Produce all records, recordings     June 16, 2023
           and reports associated with Fed.
           R. Evid. 412, 413 and 415
           Disclosure of all expert            June 20, 2023
           information required by D.S.D.
           Standing Order 22-06(1)
           Subpoenas for trial                 June 23, 2023

           Plea agreement or petition to       June 23, 2023
           plead and statement of factual
           basis
           Notify court of status of case      June 23, 2023
           and file a joint notice of speedy
           trial calculation
           Motions in limine                       June 23, 2023
           Proposed jury instructions due          June 23, 2023

           File Daubert 1 challenges to            June 23, 2023
           experts

           Response to motions in limine           June 28, 2023
           and proposed jury
           instructions due

           Daubert hearing, if needed              Monday, July 3, 2023 at 9 a.m.
           Pretrial conference                     Monday, July 3, 2023 at 9 a.m.

           Disclosure of all rebuttal expert       July 3, 2023
           information required by D.S.D.
           Standing Order 22-06(2)
           Jury Trial                              Tuesday, July 11, 2023 at 9 a.m.

      IT IS FURTHER ORDERED that no continuances will be granted without a
showing of exceptional circumstances.

        IT IS FURTHER ORDERED that pursuant to the Due Process Protections Act,
 Pub. L. No. 116-182, 116th Cong., 2d Sess. (October 21, 2020) (codified at Fed. R.
 Crim. P. 5(f)), the United States is obligated to disclose to the defendant all
 exculpatory evidence–that is, evidence that favors the defendant or casts doubt on
 the government’s case as required by Brady v. Maryland, 373 U.S. 83 (1963), and its
 progeny, as well as impeachment evidence as required by United States v. Bagley,
 473 U.S. 667 (1985), and its progeny. Failure to disclose exculpatory or
 impeachment evidence in a timely manner may result in consequences, including but
 not limited to exclusion of evidence, adverse jury instructions, dismissal of charges,
 contempt proceedings, disciplinary actions or sanctions by the court.


      The parties are instructed that:

      1.     Proposed jury instructions with citations to authority shall be filed by
             June 23, 2023. Submit only substantive instructions pertaining to the
             law of the case; do not submit standard or boilerplate instructions.
             Proposed instructions shall be numbered and shall contain a table of
             contents.




      1   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 592 (1993).

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      2.     The court will provide to the parties by e-mail the proposed preliminary
             jury instructions prior to the pretrial conference. Any objections to the
             proposed preliminary instructions shall be raised during the pretrial
             conference.

      3.     Counsel shall provide to the Clerk of Court but not file exhibit and
             witness lists by noon the Friday prior to the pretrial conference.
             These lists will not be disclosed to the opposing party.

      4.     By noon the Friday prior to the pretrial conference counsel shall
             provide to the court copies of exhibits to be introduced at trial.

      5.     Counsel shall contact the Clerk of Court five (5) business days prior to
             trial for instruction on the use of courtroom technology, if needed.

      6.     Counsel may make a motion requesting a copy of the jury list five (5)
             days in advance of an upcoming trial.

      The period of delay resulting from this continuance is excluded in computing

the time within which the trial of the case must commence. 18 U.S.C. § 3161(h)(7)(A).

      Defense counsel must file with the clerk within fourteen (14) days of this order

a written consent to the continuance and waiver of the Speedy Trial Act signed by the

defendant.

      All other provisions of the court’s scheduling and case management order

(Docket 30) remain in effect unless specifically changed.

      Dated June 6, 2023.

                                    BY THE COURT:

                                    /s/ Jeffrey L. Viken
                                    JEFFREY L. VIKEN
                                    UNITED STATES DISTRICT JUDGE
